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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                       Civil Case 1:23-cv-20943-KMM MOORE/LOUIS

DON’T TREAD ON US, LLC, a Florida
limited liability company,

               Plaintiff,
v.

TWITTER, INC. a Delaware corporation,

               Defendant.


     JOINT MOTION TO EXTEND TIME TO FILE JOINT SCHEDULING REPORT

       The parties, through their undersigned counsel, jointly move for an extension of time to

file their Joint Scheduling Report, setting a new, agreed deadline of May 26, 2023. As grounds in

support, the parties state as follows:

       1.      Under the Court’s Paperless Pretrial Order [D.E. 3], the parties’ Joint Scheduling

Report must be filed no later than May 18, 2023.

       2.      Because Defendant’s counsel is preparing for a trial in another action to begin on

May 15, 2023, the parties require additional time to complete the report and therefore request an

extension until and including May 26, 2023 to prepare and file their report.

       3.      Under the circumstances, the brief extension of time requested will not prejudice

any party and will afford counsel and the parties to meaningfully confer on the subjects needed

to prepare their joint scheduling report and file it with the Court on or before May 26, 2023.

       WHEREFORE, the parties respectfully request that this Court enter an Order granting this

Joint Motion and extend the deadline for them to file their Joint Scheduling Report, up to and

including May 26, 2023.



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Respectfully submitted,

/s/Elizabeth Lee Beck                     /s/Joshua C. Webb
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